                Case 3:13-cv-03950-RS Document 14 Filed 10/18/13 Page 1 of 4



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9
                             UNITED STATES DISTRICT COURT
10                         NORTHERN DISTRICT OF CALIFORNIA
11

12
                                            )        Case No. 3:13-cv-03950-RS
13   ALFREDO LEON OREA,                     )
                                            )        STIPULATION EXTENDING TIME TO
14
     Plaintiff,                             )        FILE OPPOSITION TO DEFENDANT’S
15                                          )        MOTION TO DISMISS AND FOR
             vs.                            )        DEFENDANT’S REPLY IN SUPPORT OF
16                                          )        MOTION TO DISMISS
     COMCAST CORPORATION,                   )
17
                                            )
18   Defendant.                             )
                                            )
19                                          )
     ______________________________________ )
20

21
            Plaintiff, Alfredo Orea Leon (“Plaintiff”), by and through his counsel of record, and
22

23   Defendant, Comcast    Broadband Security, LLC dba Xfinity Home, erroneously sued as

24   Comcast Corporation (“Defendant”), by and through its counsel of record (Plaintiff and
25
     Defendant will be collectively referred to as the “Parties”), hereby stipulate and agree as
26
     follows:
27

28
     ///
                                          -1
     STIPULATION EXTENDING TIME TO FILE OPPOSITION TO DEFENDANT’S
     MOTION TO DISMISS AND FOR DEFENDANT’S REPLY IN SUPPORT OF
     MOTION TO DISMISS- Case No. 3:13-cv-03950-RS
               Case 3:13-cv-03950-RS Document 14 Filed 10/18/13 Page 2 of 4



1           WHEREAS, Plaintiff filed a Complaint against Defendant on or about July 10, 2013, in
2
     the Superior Court of California, County of Contra Costa, alleging violations of the Fair Credit
3
     Reporting Act (“FCRA”).
4

5
            WHEREAS, on or about August 26, 2013, Defendant removed this case to the United

6    States District Court, Northern District of California.
7           WHEREAS, on or about September 03, 2013, Defendant filed a Motion to Dismiss
8
     (“MTD”) the Complaint.
9
            WHEREAS, on or about September 17, 2013, Plaintiff filed a First Amended
10

11   Complaint (“FAC”).

12          WHEREAS, on or about October 04, 2013, Defendant filed an MTD to the FAC.
13
            WHEREAS, the hearing for Defendant’s MTD is currently scheduled for November 14,
14
     2013, at 1:30 p.m., in Courtroom Three of the Northern District Court, before the Honorable
15
     Richard Seeborg.
16

17          WHEREAS, Plaintiff’s deadline for filing an Opposition to Defendant’s MTD is

18   October 18, 2013.
19
            WHEREAS, Defendant’s deadline for filing a Reply in support of Defendant’s MTD is
20
     October 25, 2013.
21
            WHEREAS, Plaintiff and Defendant are attempting to informally resolve the matter
22

23   without need for further motion practice.
24          WHEREAS, this stipulation is being made to allow Plaintiff and Defendant an
25
     additional reasonable amount of time to resolve the matter without incurring additional fees and
26
     costs that could otherwise be reserved for resolution of the instant matter.
27

28
            WHEREAS, this stipulation is made in good faith and not for the purpose of delay.
                                          -2
     STIPULATION EXTENDING TIME TO FILE OPPOSITION TO DEFENDANT’S
     MOTION TO DISMISS AND FOR DEFENDANT’S REPLY IN SUPPORT OF
     MOTION TO DISMISS- Case No. 3:13-cv-03950-RS
               Case 3:13-cv-03950-RS Document 14 Filed 10/18/13 Page 3 of 4



1           IT IS HEREBY STIPULATED by and between the Parties, through their respective
2
     counsel of record, that:
3
            1. Plaintiff’s time to file an Opposition to Defendant’s MTD is extended to October
4

5
                23, 2013; and

6           2. Defendant’s time to file a Reply in Support of Defendant’s MTD is extended to
7               October 30, 2013.
8

9    Dated: October 18, 2013
10

11   _/s/Todd M. Friedman
     Todd M. Friedman
12   Attorney for Plaintiff
13

14
     Dated: October 18, 2013
15
     __/s/_Scott McLeod
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     Scott McLeod
17   Attorney for Defendant

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28                                    PROOF OF SERVICE
                                          -3
     STIPULATION EXTENDING TIME TO FILE OPPOSITION TO DEFENDANT’S
     MOTION TO DISMISS AND FOR DEFENDANT’S REPLY IN SUPPORT OF
     MOTION TO DISMISS- Case No. 3:13-cv-03950-RS
               Case 3:13-cv-03950-RS Document 14 Filed 10/18/13 Page 4 of 4



1
            I, Todd M. Friedman, state the following:
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3            I am employed in Los Angeles, California; I am over the age of 18 and am not a party to
     this action; my business address is 369 S. Doheny Dr., Ste. 415, Beverly Hills, CA 90211. On
4    June 06, 2013, I served the following documents:
5
     STIPULATION EXTENDING TIME TO FILE OPPOSITION TO DEFENDANT’S
6    MOTION TO DISMISS AND FOR DEFENDANT’S REPLY IN SUPPORT OF
     MOTION TO DISMISS
7

8
            On the parties listed below:

9           COOPER, WHITE & COOPER, LLP
            JIE-MING CHOU
10
            SCOTT M. MCLEOD
11          jchou@cwclaw.com
            smcleod@cwclaw.com
12          Attorneys for Defendant
13

14          By the following means of service:

15   [X]    BY ELECTRONIC CASE FILING: I filed the submitted the document listed above
            via the court’s Electronic Case Filing (ECF) system which provides electronic mail
16
            (email) service of the listed document directly to the party listed above to his/her “email
17          address of record.”

18
     [X]    STATE: I declare under penalty of perjury under the laws of California that the above
19
            is true and correct.
20
            Executed on October 18, 2013, at Beverly Hills, California.
21
                                                          By:_/s/ Todd M. Friedman
22
                                                                 Todd M. Friedman
23

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                                          -4
     STIPULATION EXTENDING TIME TO FILE OPPOSITION TO DEFENDANT’S
     MOTION TO DISMISS AND FOR DEFENDANT’S REPLY IN SUPPORT OF
     MOTION TO DISMISS- Case No. 3:13-cv-03950-RS
